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                                                                           U.S . DISTRICT COUR T
                                                                                AUGUSTA DIV.
                     IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA                   2m6 A116 I I AM & 40

                                   DUBLIN DIVISION                       CLER K
                                                                            SO . DISL OF GA.
UNITED STATES OF AMERICA

               V.                                    CR 306-010

RICK TRIMM, SR .


                                       ORDER


       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation to which no objections have been filed . Accordingly,

the Report and Recommendation of the Magistrate Judge is ADOPTED as the opinion of

the Court. Therefore, the plea of guilty from the defendant is accepted as to Count One of

the indictment in this case . Upon review of the presentence investigation report, sentence

will be imposed, and a final judgment of guilty shall thereafter be entered against th e

defendant.

       SO ORDERED this /day of Augus4,,20 6 , at )Ogusta, Gi
          Case 3:06-cr-00010-DHB-WLB Document 23 Filed 08/11/06 Page 2 of 2
                       United States District Court
                             Southern District of Georgia

   UNITED STATES OF AMERICA

                      vs .                               CASE NO. CR306-01 0
    RICK TRIMM, SR .



The undersigned, a regularly appointed and qualified deputy in the office of this Clerk of this
District, while conducting the business of the Court for said Division does hereby certify the
following :
         1 Pursuant to instructions from the court, and in the performance of my official
                duties, I personally placed in the U .S . Mail a sealed envelope bearing the lawful
                frank of the Court, and properly addressed to each of the persons, parties or
                attorneys listed below ;
                and
         2. That the aforementioned envelope (s) contain a copy of the documents known as
               order                                      dated 8/11/06 , which is
              part of the official records of this case .

Date of Mailing:       8/11/06
Date of Certificate : 8/11/06


                                                       SCOTT L POFF, CLERK
                                                                  .
                                                       By      Z            e

NAME :
1 . Rick Trimm, Sr.
2 . Clay Taple y




    Cert/Copy                                                 Cert/Copy
     ❑ ® Dis trict Judge                                       ❑ ❑        Dept . of Justice
     ❑ ® Magistrate Judge                                      ❑ ❑        Dept . of Public Safety
     ❑ ❑ Minute s                                              ❑ ❑        Voter Registrar
     ❑ ❑ U .S . Probation                                      ❑ ❑        U .S . Court of Appeals
     ❑ ❑ U .S . Marshal                                        ❑ ❑        Nicole/Debbie
     ❑ ® U .S . Attorney                                       ❑ ❑        Ray Stalvey
     ❑❑  JAG Office                                            ❑ ❑        Cindy Reynolds
